                                                                                                                                Rev. 12/01/19
                                                           LOCAL BANKRUPTCY FORM 3015-1

                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                                                       CHAPTER 13
Danielle Nicole Poole                                                        CASE NO.   1:21-bk-02420

                                                                               ORIGINAL PLAN
                                                                                 AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)
                                                                               Number of Motions to Avoid Liens
                                                                               Number of Motions to Value Collateral

                                                                     CHAPTER 13 PLAN

                                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is checked as
“Not Included” or if both boxes are checked or if neither box is checked, the provision will be ineffective if set out later in the plan.

1     The plan contains nonstandard provisions, set out in § 9, which are not included            Included              Not Included
      in the standard plan as approved by the U.S. Bankruptcy Court for the Middle
      District of Pennsylvania.
2     The plan contains a limit on the amount of a secured claim, set out in § 2.E,               Included              Not Included
      which may result in a partial payment or no payment at all to the secured
      creditor.
3     The plan avoids a judicial lien or nonpossessory, nonpurchase-money security                Included              Not Included
      interest, set out in § 2.G.

                                              YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely written objection. This plan may
be confirmed and become binding on you without further notice or hearing unless a written objection is filed before the deadline
stated on the Notice issued in connection with the filing of the plan.


1.         PLAN FUNDING AND LENGTH OF PLAN.

           A.          Plan Payments From Future Income


                       1. To date, the Debtor paid $ (enter $0 if no payments have been made to the Trustee to date). Debtor shall pay to
                       the Trustee for the remaining term of the plan the following payments. If applicable, in addition to monthly plan
                       payments, Debtor shall make conduit payments through the Trustee as set forth below. The total base plan is
                       $5,400.00, plus other payments and property stated in § 1B below:

      Start                  End                                Plan               Estimated          Total                  Total
      mm/yy                 mm/yy                             Payment               Conduit          Monthly               Payment
                                                                                   Payment           Payment               Over Plan
                                                                                                                             Tier
11/21                 10/24                                               150.00           0.00              150.00                   5,400.00




                                                                                                  Total Payments:                   $5,400.00

                       2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a different
                       payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing, to adjust the conduit
                       payments and the plan funding. Debtor must pay all post-petition mortgage payments that come due before the
                       initiation of conduit mortgage payments.
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                       3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of the plan.

                       4. CHECK ONE:            Debtor is at or under median income. If this line is checked, the rest of § 1.A.4 need not be
                                              completed or reproduced.


           B.          Additional Plan Funding From Liquidation of Assets/Other

                       1. The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value is calculated as the
                          value of all non-exempt assets after the deduction of valid liens and encumbrances and before the deduction of
                          Trustee fees and priority claims.)

                       Check one of the following two lines.

                           No assets will be liquidated. If this line is checked, the rest of § 1.B.2 and complete § 1.B.3 if applicable

                           Certain assets will be liquidated as follows:

                       2. In addition to the above specified plan payments, Debtor shall dedicate to the plan proceeds in the estimated
                          amount of $ from the sale of property known and designated as . All sales shall be completed by . If the
                          property does not sell by the date specified, then the disposition of the property shall be as follows:


                       3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows:


2.         SECURED CLAIMS.

           A.          Pre-Confirmation Distributions. Check one.

                None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

           B.          Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct Payments by
                       Debtor. Check one.

                None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

                Payments will be made by the Debtor directly to the creditor according to the original contract terms, and without
                 modification of those terms unless otherwise agreed to by the contracting parties. All liens survive the plan if not
                 avoided or paid in full under the plan.

        Name of Creditor                                        Description of Collateral                Last Four Digits of Account Number
                                         152 Natural Springs Road Gettysburg, PA 17325
PennyMac Loan Services,                  Value listed as Realtor's CMA recommendation minus
LLC                                      10% cost of sale.                                               3062

     C.          Arrears (Including, but not limited to, claims secured by Debtor’s principal residence). Check one.
                None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

     D.          Other secured claims (conduit payments and claims for which a § 506 valuation is not applicable, etc.)
                None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

           E.     Secured claims for which a § 506 valuation is applicable. Check one.
             None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

           F.          Surrender of Collateral. Check one.

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                None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

           G.          Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.

                None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

3.          PRIORITY CLAIMS.

           A.          Administrative Claims

                       1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States Trustee.

                       2. Attorney’s fees. Complete only one of the following options:

                              a.       In addition to the retainer of $ 194.00 already paid by the Debtor, the amount of $ 4,306.00 in the
                                       plan. This represents the unpaid balance of the presumptively reasonable fee specified in L.B.R.
                                       2016-2(c); or

                              b.       $       per hour, with the hourly rate to be adjusted in accordance with the terms of the written fee
                                       agreement between the Debtor and the attorney. Payment of such lodestar compensation shall require a
                                       separate fee application with the compensation approved by the Court pursuant to L.B.R. 2016-2(b).

                       3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                                 Check one of the following two lines.

                None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.

           B. Priority Claims (including, certain Domestic Support Obligations)

                None. If “None” is checked, the rest of § 3.B need not be completed or reproduced.

           C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C. §507(a)(1)(B). Check
              one of the following two lines.

                None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.

4.         UNSECURED CLAIMS

           A. Claims of Unsecured Nonpriority Creditors Specially Classified.
              Check one of the following two lines.

                None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

           B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after payment of
              other classes.

5.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.

                None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

6.         VESTING OF PROPERTY OF THE ESTATE.

           Property of the estate will vest in the Debtor upon

           Check the applicable line:




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                  plan confirmation.
                  entry of discharge.
                  closing of case.


7.         DISCHARGE: (Check one)

               The debtor will seek a discharge pursuant to § 1328(a).
               The debtor is not eligible for a discharge because the debtor has previously received a discharge described in § 1328(f).


8.         ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat the claim as
allowed, subject to objection by the Debtor.



Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels are not filled-in, then the
order of distribution of plan payments will be determined by the Trustee using the following as a guide:

Level 1:         Adequate protection payments.
Level 2:         Debtor's attorney's fees.
Level 3:         Domestic Support Obligations.
Level 4:         Priority claims, pro rata.
Level 5:         Secured claims, pro rata.
Level 6:         Specially classified unsecured claims.
Level 7:         Timely filed general unsecured claims.
Level 8:         Untimely filed general unsecured claims to which the Debtor has not objected.

9.          NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere in the plan is void.
(NOTE: The plan and any attachment must be filed as one document, not as a plan and exhibit.)

Dated:        November 10, 2021                                               /s/ Nicholas G. Platt
                                                                              Nicholas G. Platt 327239
                                                                              Attorney for Debtor

                                                                              /s/ Danielle Nicole Poole
                                                                              Danielle Nicole Poole
                                                                              Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also certifies that this plan contains
no nonstandard provisions other than those set out in § 9.




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